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Fill in this information to identify the case

Debtor 1 Amy L. Thomas

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: WESTERN District of PENNSYLVANIA
                                                                        (State)
Case number 22-21886


Official Form 410S1
Notice of Mortgage Payment Change                                                                                              12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
Name of creditor              Nationstar Mortgage LLC                               Court claim no. (if known)            15
                                                                                    Date of payment change
Last four digits of any number                                                      Must be at least 21 days after date of         10/1/2023
you use to identify the debtor's                                                    this notice
account:                               1944
                                                                                    New total payment:
                                                                                    Principal, interest, and escrow, if any        $712.77
Part 1:           Escrow Account Payment Adjustment

  1.   Will there be a change in the debtor's escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
           Describe the basis for the change. If a statement is not attached, explain why:


           Current escrow payment:         $185.01      New escrow payment:      $229.23

Part 2:           Mortgage Payment Adjustment

  2.   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate
       note?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
           not attached, explain why:


           Current interest rate:                             %           New interest rate:                                   %

           Current principal and interest payment: $                      New principal and interest payment: $

Part 3:           Other Payment Change

  3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
           agreement. (Court approval may be required before the payment change can take effect)

           Reason for change:

           Current mortgage payment: $                                    New mortgage payment: $




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Debtor 1          Amy L. Thomas                                             Case number (if known) 22-21886
            First Name                      Middle Name        Last Name



Part 4:              Sign Here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
  number.
  Check the appropriate box.
           I am the creditor.
           I am the creditor's authorized agent.

  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
  knowledge, information, and reasonable belief.

  X
        /s/Alyk L. Oflazian                                                      Date
                                                                                         08/17/2023
      Signature

  Print:                  Alyk Lily Oflazian                                     Title    Attorneys for Creditor

  Company                 Manley Deas Kochalski LLC

  Address                 P.O. Box 165028
                         Number             Street

                          Columbus, OH 43216-5028
                         City                        State       ZIP Code

  Contact phone            614-220-5611                                          Email     amps@manleydeas.com




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                 IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA
In re:                               :
                                     : Case No.: 22-21886
Amy L. Thomas                        : Chapter 13
                                     : Judge Jeffery A. Deller
                           Debtor(s) : * * * * * * * * * * * * * * * * * * *
                                     :
Nationstar Mortgage LLC              : Related Document #
                            Movant, :
       vs                            :
                                     :
Amy L. Thomas                        :
Albert D. Thomas                     :
Ronda J. Winnecour                   :
                        Respondents. :

          CERTIFICATE OF SERVICE OF NOTICE OF PAYMENT CHANGE

        I certify under penalty of perjury that I served the above captioned pleading on the parties
at the addresses specified below or on the attached list on (date) 08/17/2023                        .

       The type(s) of service made on the parties (first-class mail, electronic notification, hand
delivery, or another type of service) was: first-class mail and electronic notification            .

         If more than one method of service was employed, this certificate of service groups the
parties by the type of service. For example, the full name, email address, and where applicable
the full name of the person or entity represented, for each party served by electronic transmission
is listed under the heading "Service by NEF," and the full name and complete postal address for
each party served by mail, is listed under the heading "Service by First-Class Mail."
               08/17/2023
EXECUTED ON: _____________________

                                              By: /s/Alyk L. Oflazian
                                              Signature
                                              Alyk L. Oflazian, Esquire
                                              Typed Name
                                              P.O. Box 165028, Columbus, OH 43216-5028
                                              Address
                                              614-220-5611
                                              Phone No.
                                              312912
                                              List Bar I.D. and State of Admission




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  Alyk L. Oflazian, Attorney for Creditor, Manley Deas Kochalski LLC, P.O. Box 165028,
  Columbus, OH 43216-5028 (notified by ecf)

  Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov (notified by ecf)

  Ronda J. Winnecour, Chapter 13 Trustee, Suite 3250, USX Tower, 600 Grant Street,
  Pittsburgh, PA 15219, cmecf@chapter13trusteewdpa.com (notified by ecf)

  Kenneth Steidl, Attorney for Debtor and/or Co-Debtor, Suite 2830 Gulf Tower, 707 Grant
  Street, Pittsburgh, PA 15219, julie.steidl@steidl-steinberg.com (notified by ecf)

  Amy L. Thomas and Albert D. Thomas, Debtor and/or Co-Debtor, PO Box 9679, Pittsburgh,
  PA 15226-0679 (notified by regular US Mail)




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